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   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
 10
 11    Charles D. Skinner, et al., )        Case No. CV 07-3923-JFW
                                   )        (AGRx)
 12                  Plaintiff,    )
                                   )        JUDGMENT
 13         v.                     )
                                   )
 14    Northrop Grumman Retirement )
       Plan B, et al.,             )
 15                                )
                     Defendant.    )
 16    ___________________________
 17
 18         The Court, having granted the Defendants’ motion for
 19    summary judgment based on its determination that there was no
 20    genuine issue as to any material fact and that Defendants
 21    were entitled to judgment as a matter of law on all claims
 22    for relief alleged against them,
 23         IT IS NOW, THEREFORE, HEREBY ORDERED, ADJUDGED AND
 24    DECREED, that judgment is entered in this action as follows:
 25         1.   Plaintiffs Charles D. Skinner and Gregory A. Stratton
 26    shall recover nothing from any of the named Defendants;
 27         2.   Defendants Northrop Grumman Retirement Plan B and
 28    Administrative Committee of Northrop Grumman Retirement Plan
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   1   B shall have judgment in their favor on Plaintiffs’ entire
   2   action; and
   3        3.   Defendants shall recover from Plaintiffs their costs
   4   of suit in the sum of $________.
   5
   6        The Clerk is ordered to enter this Judgment.
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   8
   9   Dated: January 26, 2010
                                                  JOHN F. WALTER
 10                                       UNITED STATES DISTRICT JUDGE
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